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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: March 6, 2025



________________________________________________________________




                     UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

In re:                              )
                                    )     Case No. 2:24-bk-51435
Monica Clary,                       )     Chapter 7
                                    )     Judge Nami Khorrami
            Debtor.                 )
______________________________________________________________________________

Monica Clary,                          )
                                       )   Adv. Pro. No. 2:24-ap-02071
              Plaintiff,               )
v.                                     )
                                       )
United States Department of Education, )
                                       )
              Defendant.               )
 _____________________________________________________________________________

     AMENDED CONSENT JUDGMENT IN FAVOR OF PLAINTIFF, AS TO THE
    UNITED STATES DEPARTMENT OF EDUCATION ONLY, ON COMPLAINT
      (DOC 1) TO DETERMINE DISCHARGEABILITY OF STUDENT LOANS
______________________________________________________________________________
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       WHEREAS, Monica Clary (“Plaintiff” or “Debtor”) commenced the above-captioned

bankruptcy case by filing a petition under Chapter 7 of Title 11 of the United States Code, 11

U.S.C. § 101 et seq. (“Bankruptcy Code”); and

       WHEREAS, the Debtor commenced the above-captioned adversary proceeding

(“Adversary Proceeding”) against the United States Department of Education by filing the

Complaint to Determine Dischargeability of Student Loans, see Adv. Pro. Doc 1 (“Complaint”);

and

       WHEREAS, on December 5, 2024, the United States Department of Education

(“Defendant” or “Education,”) filed an Answer, see Adv. Pro. Doc 3, asserting, among other

things, that Education held outstanding loans taken by Debtor; and

       WHEREAS, by the Complaint, the Plaintiff seeks to discharge, pursuant to 11 U.S.C. §

523(a)(8), the student loan debt identified and described in the following table:




       WHEREAS, the Plaintiff, pursuant to the November 17, 2022, Guidance for Department

Attorneys Regarding Student Loan Bankruptcy Litigation, submitted to Education an Attestation

in Support of Request for Stipulation Conceding Dischargeability of Student Loans

(“Attestation”); and

       WHEREAS, the Parties desire to amicably resolve the matters at issue in the Adversary

Proceeding and, therefore, have agreed to enter into this Agreed Judgment.
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       NOW, THEREFORE, upon consideration of the Complaint and the stipulations

contained herein, as well as the consent of the parties as evidenced by the endorsement below of

the parties or their counsel, it is, by the United States Bankruptcy Court for the Southern District

of Ohio ORDERED:

       NSLDS Loans 1 and 2 ($6,003.00 in principal and $1,714.00 in interest), totaling

$7,717.00 are DISCHARGEABLE.

       IT IS SO ORDERED.

AGREED TO:

/s/Tyler D Cope.
TYLER D COPE (0097411)
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Columbus, OH 43206
614-737-0176
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